          IN THE UNITED STATES DISTRICT COURT FOR THE
               WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )        Case No. 3:01CR79
                              )        Case No. 3:05CV400
          v.                  )
                              )
KEITH A. ELSESSER,            )        ORDER AND JUDGMENT
                              )
               Defendant.     )
______________________________)


          Pursuant to the memorandum opinion entered herein this

date,

          IT IS ORDERED:

          1) Defendant’s motion to vacate, set aside or correct

his sentence (Filing No. 1 in 3:05CV400; Filing No. 158 in

3:01CR79) is denied.

          2) Defendant’s motion for bond (Filing No. 155 in

3:01CR79) pending a motion to recall the mandate before the

Fourth Circuit Court of Appeals and a writ of certiorari before

the Supreme Court is denied.

          3) Defendant’s motion for leave to file response

(Filing No. 7 in 3:05CV400) is denied.

          DATED this 24th day of January, 2006.

                                 BY THE COURT:

                                 /s/ Lyle E. Strom
                                 ______________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court




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